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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :       CASE NO. 21-cr-003 (RCL)
              v.                            :
                                            :
JACOB CHANSLEY,                             :
                                            :
                      Defendant.            :


       MOTION FOR AN ORDER TO DISCLOSE ITEMS PROTECTED BY
   FEDERAL RULE OF CRIMINAL PROCEDURE 6(e) AND SEALED MATERIALS

       The United States of America respectfully moves for entry by this Court of an order

permitting the disclosure in discovery of materials protected by Federal Rule of Criminal

Procedure 6(e). The United States also requests permission to provide in discovery sealed

materials, pursuant to the previously entered protective order governing discovery. Finally, the

United States requests that any order granting this motion be made applicable to co-defendants

who may later be joined.




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       WHEREFORE, the United States respectfully requests an order authorizing the disclosure

in discovery of the materials described above.



                                             Respectfully submitted,

                                             CHANNING PHILLIPS
                                             Acting United States Attorney
                                             D.C. Bar No. 415793


                                     By:                   /s/
                                             KIMBERLY L. PASCHALL
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       CASE NO. 21-cr-003 (RCL)
               v.                            :
                                             :
JACOB CHANSLEY,                              :
                                             :
                      Defendant.             :

                                             ORDER

        Upon consideration of the United States’ motion to disclose items protected by Federal

Rule of Criminal Procedure 6(e) and sealed materials, it is hereby

        ORDERED, that the motion is GRANTED, and it is further

        ORDERED, that the United States may provide in discovery materials protected by

Federal Rule of Criminal Procedure 6(e), and it is further

        ORDERED, that the United States may provide in discovery sealed materials, pursuant to

the previously entered protective order governing discovery, and it is further

        ORDERED, that this Order also applies to the disclosure of the materials described above

to any co-defendants who may later be joined.




Date:                                        ___________________________________
                                             THE HONORABLE ROYCE LAMBERTH

                                             U.S. DISTRICT JUDGE
